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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,

                Plaintiff,

   v.
                                                    Case No. 1:19-cv-807 (EGS)
OFFICE OF THE DIRECTOR OF
NATIONAL INTELLIGENCE,

                Defendant.



                                   JOINT STATUS REPORT

        The parties, by and through their undersigned counsel, respectfully submit the following:

        1.      This action arises under the Freedom of Information Act (“FOIA”), 5 U.S.C. §

552, and involves a FOIA request submitted by Plaintiff Judicial Watch, Inc. (“Judicial Watch”),

to the Office of the Director of National Intelligence (“ODNI”) seeking certain documents

related to a meeting between former Federal Bureau of Investigation (“FBI”) Deputy Assistant

Director Peter Strzok and certain Intelligence Community Inspector General (ICIG) officials.

        2.      ODNI’s search for records responsive to Judicial Watch’s FOIA request is

complete. By letter dated July 19, 2019, transmitted on July 23, 2019, ODNI provided to

Judicial Watch a final response, consisting of two documents totaling 12 pages.

        3.      The parties are currently working together to resolve any outstanding issues

related to ODNI’s response to Judicial Watch’s FOIA request without the need for summary

judgment briefing.

        4.      The parties do not believe that an Open America stay is likely in this case.

        5.      If the parties do not resolve outstanding issues related to ODNI’s response, a
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Vaughn index and/or another submission by the government describing the documents and the

justifications for nondisclosure will be required in this case.

       6.      The parties do not believe that this case would benefit from referral to a

Magistrate Judge or the District Court Mediation Program for purposes of settlement.

       7.      The parties believe it would be premature to set a briefing schedule for dispositive

motions at this time and, instead, propose that they submit a joint status report to the Court on or

before August 26, 2019, informing the Court whether the parties have resolved all disputes or

whether dispositive motions are necessary and in that event, proposing a briefing schedule.



Dated: August 5, 2019                              Respectfully submitted,


/s/ Ramona R. Cotca                                JOSEPH H. HUNT
RAMONA R. COTCA (DC Bar # 501159)                  Assistant Attorney General
Judicial Watch, Inc.                               Civil Division
425 Third Street SW, Suite 800
Washington, DC 20024                               MARCIA BERMAN
Telephone: (202) 646-5172, ext. 328                Assistant Director
rcotca@judicialwatch.org                           Civil Division, Federal Programs Branch

Counsel for Plaintiff                              /s/ Julie Straus Harris
                                                   JULIE STRAUS HARRIS (DC Bar # 1021928)
                                                   Trial Attorney
                                                   United States Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   1100 L Street NW, Room 11514
                                                   Washington, D.C. 20005
                                                   Tel: (202) 353-7633
                                                   Fax: (202) 616-8470
                                                   E-mail: julie.strausharris@usdoj.gov

                                                   Counsel for Defendant




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